     Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 1 of 17 PageID #:105




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


APOTEX, INC.,

                    Plaintiff,
                                                     Case No.: 12-CV-09295
v.
                                                     Judge Sharon Johnson Coleman
DAIICHI SANKYO, INC. and                             Magistrate Judge Mary M. Rowland
DAIICHI SANKYO CO., LTD.

                    Defendants.



                MEMORANDUM IN SUPPORT OF DEFENDANTS’
            MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendants Daiichi Sankyo, Inc.

and Daiichi Sankyo Co., Ltd. (collectively “Daiichi Sankyo”) submit this memorandum in

support of their motion to dismiss Plaintiff Apotex, Inc.’s (“Apotex”) amended complaint.

                                 PRELIMINARY STATEMENT

       No real dispute exists between the parties. Apotex frames this case as a request for

declaratory judgment of non-infringement of United States Patent No. 6,878,703 owned by

Daiichi Sankyo. But, that patent does not even exist, because it was disclaimed by Daiichi

Sankyo in 2006. Daiichi Sankyo also told Apotex that it will never sue Apotex or anyone else on

that non-existent patent and indeed it cannot. There is no, and cannot be, any real and justiciable

dispute about infringement of a disclaimed and non-existent patent.

       Apotex’s complaint tries to argue that the FDA’s regulatory system for generic drug

approvals codified by the Hatch-Waxman Act somehow conveys jurisdiction. According to

Apotex, this patent is the roadblock to Apotex’s market entry under the Act. But, this patent
    Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 2 of 17 PageID #:106




does not and cannot hinder Apotex’s market entry; instead, Apotex is being excluded from the

market by a different Daiichi Sankyo patent to which Apotex has acquiesced, and by regulatory

exclusivity to which non-party Mylan is entitled under the Act.             In cases involving

indistinguishable facts, the Federal Circuit found no subject matter jurisdiction. Even if this

Court had subject matter jurisdiction (which it does not), the Court should, in its discretion,

decline to hear this case, because under the Hatch-Waxman Act, Apotex lacks (and may never

obtain) the prerequisites for the relief it seeks.

                                           BACKGROUND

        A.      The Hatch-Waxman Act

        To begin, a brief description of the Hatch-Waxman Act is helpful. The Hatch-Waxman

Act, a specialized system of laws, governs (among other things) the approval of generic versions

of previously approved branded drugs. See, e.g., Janssen Pharmaceutica, N.V. v. Apotex, Inc.,

540 F.3d 1353, 1355 (Fed. Cir. 2008) (citation omitted).           “Branded” (or “innovator”)

pharmaceutical companies invest decades of research to invent new drugs and perform safety

and efficacy testing (including clinical trials) to get such drugs approved by the Food and Drug

Administration (FDA). The Hatch-Waxman Act attempts to balance the need to encourage

innovation by branded companies with the desire to make generic versions of drugs available.

        Before a new drug can be approved by the FDA, the branded company must submit a

New Drug Application (NDA) containing the results of chemical testing, animal studies, and

clinical trials to prove the safety and efficacy of the drug. These studies take many years and

cost millions of dollars to complete. Applicants seeking to market generic versions of previously

approved drugs, however, can skip the vast testing required of the branded company and use an

expedited approval process called an Abbreviated New Drug Application (ANDA).                  See

generally 21 U.S.C. § 355(j). An ANDA applicant can rely on the testing in the branded

                                                     -2-
    Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 3 of 17 PageID #:107




company’s NDA and merely must prove that its generic product is “bioequivalent” to the NDA

product. See 21 U.S.C. § 355(j)(2)(A) (listing required contents of ANDA); see also 21 C.F.R. §

320.1(e) (defining bioequivalence).       The FDA reviews ANDAs for compliance with its

regulations. If the ANDA meets the approval requirements, the FDA will grant either “final”

approval (and sale can begin immediately), or “tentative” approval (if final approval is barred by

some period of regulatory exclusivity).

       The Hatch-Waxman Act recognizes that branded companies often have one or more

patents that cover their drugs. The branded applicant must identify to the FDA all patents that

“could reasonably be asserted if a person not licensed by the owner engaged in the manufacture,

use, or sale of the drug.” 21 U.S.C. § 355(b)(1), (c)(2). The FDA lists these patents in its

Approved Drug Products with Therapeutic Equivalence Evaluations, commonly referred to as

the “Orange Book.” For each patent listed in the Orange Book, an ANDA applicant must

include a certification stating either that (I) no patent information has been submitted; (II) the

patent has expired; (III) approval of the ANDA should be deferred until expiration of the patent;

or (IV) in the opinion of the ANDA applicant, the patent is invalid or will not be infringed by the

manufacture, use, or sale of the generic drug. See 21 U.S.C. § 355(j)(2)(A)(vii)(I)-(IV). These

options commonly are referred to as Paragraph I, II, III, and IV Certifications.

       An ANDA applicant making a Paragraph III Certification acquiesces to the patent and

agrees to wait for approval of its ANDA until the patent and attendant exclusivity expires. In

contrast, when an ANDA applicant makes a Paragraph IV Certification, the branded company

has a cause of action against the ANDA applicant for patent infringement under a provision in

the patent statute (35 U.S.C. § 271(e)(2)) added by the Hatch-Waxman Act.               If a court




                                                -3-
    Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 4 of 17 PageID #:108




determines that the patent is infringed, the FDA cannot approve the ANDA until the patent

expires. See 35 U.S.C. § 271(e)(4)(A).

       The Hatch-Waxman Act also provides the first generic company to file an ANDA

containing a Paragraph IV Certification as to a listed patent (the “first Paragraph IV filer”) with

180 days of generic exclusivity for the listed drug (i.e., the FDA will delay the approval of other

ANDAs with Paragraph IV Certifications for the same drug for 180 days). See 21 U.S.C. §

355(j)(5)(B)(iv). The first Paragraph IV filer is entitled to this generic exclusivity period even if

it loses its litigation with the branded company on some, but not all, of the listed patents.

       B.      The Drug at Issue Here: Benicar®

       Daiichi Sankyo holds the approved NDA for the Benicar® product (olmesartan

medoxomil) 5 mg, 20 mg, and 40 mg tablets. In connection with its original NDA filing in 2000,

Daiichi Sankyo listed U.S. Patent Nos. 5,616,599 (the “’599 patent”) and 6,878,703 (the “’703

patent”) in the Orange Book. Am. Compl. (D.I. 10), ¶ 24.

       In 2006, non-party Mylan Laboratories, Ltd. (“Mylan”) became the first company to file

an ANDA for a generic version of Benicar® that included a Paragraph IV certification. Id., ¶ 31.

Mylan made a Paragraph IV Certification against both the ’599 patent and the ’703 patent. Id.

Daiichi Sankyo sued Mylan for infringement of the ’599 patent. Id. Daiichi Sankyo did not

assert the ’703 patent because, on July 11, 2006, Daiichi Sankyo statutorily disclaimed every

claim of the ’703 patent. See Am. Compl. (D.I. 10), ¶ 18 and Exh. D; see also 35 U.S.C. § 253

(defining statutory disclaimers). Also on July 11, 2006, Daiichi Sankyo requested that the FDA

remove the ’703 patent from the Orange Book. See Declaration of C. Austin Ginnings, Esq. in

Support of Defendant’s Motion to Dismiss Plaintiff’s Amended Complaint (“Ginnings Decl.”),

Exh. 1. The Orange Book notes this delisting request. See id., Exh. 2.



                                                 -4-
      Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 5 of 17 PageID #:109




         Ultimately, the district court found the ’599 patent valid and infringed by Mylan, the

Federal Circuit affirmed the district court’s decision, see generally Daiichi Sankyo Co. v. Matrix

Labs., 619 F.3d 1346 (Fed. Cir. 2010), and the Supreme Court denied certiorari, see Mylan Inc.

v. Daiichi Sankyo Co., Ltd., 131 S.Ct. 1678 (2011).

         Even though Mylan was unsuccessful in its challenge to the ’599 patent, it still was the

first Paragraph IV filer on both listed patents and is therefore presumptively entitled to 180 days

of generic exclusivity after the ’599 patent and attendant exclusivities expire in October 2016.1

         C.      Apotex’s ANDA

         Now, years after Mylan filed its ANDA, Apotex submitted an ANDA for a proposed

generic Benicar® product. Am. Compl. (D.I. 10), ¶ 26. As part of its ANDA, Apotex included a

Paragraph IV Certification with respect to the ’703 patent, but not the ’599 patent. See id., ¶ 27.

Apotex has filed a Paragraph III Certification as to the ’599 patent. See id., ¶ 30 (acknowledging

that Apotex’s ANDA cannot be approved until after the ’599 patent and attendant exclusivity

expires). On June 12, 2012, Apotex provided Daiichi Sankyo with a notice letter concerning its

ANDA, in which Apotex stated that the ’703 patent has been disclaimed and has expired for

failure to pay maintenance fees. See id., ¶ 28. On July 3, 2012, Daiichi Sankyo, through

counsel, confirmed to Apotex that the ’703 patent had been disclaimed and Daiichi Sankyo

“cannot, and does not intend to,” sue Apotex for infringement of the ’703 patent. See Ginnings

Decl., Exh. 3.




1
    Under the Hatch-Waxman Act, an NDA holder who completes pediatric studies is entitled to
    an additional six months of marketing exclusivity. See 21 U.S.C. § 355a. Thus, while the ’599
    patent expires in April 2016, Mylan’s ANDA cannot be granted final approval until October
    2016.

                                                -5-
    Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 6 of 17 PageID #:110




       D.      Apotex’s Declaratory Judgment Complaint

       Despite these assurances, and the knowledge that the ’703 patent has been disclaimed,

Apotex filed suit for a “declaration of non-infringement of” the ’703 patent in its November 20,

2012 complaint and its February 12, 2013 amended complaint. Am. Compl. (D.I. 10), ¶ 1.

       In its amended complaint, Apotex averred the following in support of its position that the

’703 patent cannot be infringed:

       •    “[T]he term of every claim of the ’703 patent was disclaimed.” Id., ¶ 18.

       •    “Because the ’703 patent has expired for failure to pay maintenance fees and every
            claim was disclaimed, the manufacture, marketing, use, and and/or importation of
            [Apotex’s generic product] will not … infringe … the ’703 patent.” Id., ¶ 37.

As to Apotex’s entry to the market, its complaint states that:

       •    “[T]he earliest possible date that Apotex can obtain final [approval of its ANDA] is
            upon expiration of the ’599 patent and any applicable pediatric exclusivity.” Id., ¶ 30.

       •    “Mylan retains a 180-day first generic applicant exclusivity.” Id., ¶ 33.

       •    “Mylan’s exclusivity period … will block final FDA marketing approval of Apotex’s
            ANDA even after the expiration of the ’599 patent.” Id., ¶ 40.

Thus, Apotex is blocked from the market by another patent, the ’599 patent; indeed, Apotex does

not seek to market its generic product until after the “expiration of the ’599 patent and any

applicable pediatric exclusivity.” See id., ¶ 30. The ‘599 patent, together with its pediatric

exclusivity period will not expire until October 25, 2016. And, Apotex is blocked by the

statutory exclusivity of non-party Mylan. Apotex seeks to destroy this statutory exclusivity by

asking this Court to issue a metaphysical declaratory judgment declaring that Apotex does not

infringe a patent that does not exist.

                                          ARGUMENT

       This Court should dismiss Apotex’s complaint for lack of subject matter jurisdiction

because there is no case or controversy here. Apotex admits that the ’703 patent has been

                                                -6-
      Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 7 of 17 PageID #:111




disclaimed which means it does not exist (and can never be asserted against Apotex). Under

basic patent law principles this leaves no controversy on infringement for the Court to decide.

Apotex admits that what it really seeks is to destroy Mylan’s statutory exclusivity which blocks

Apotex from the market. But, the Hatch-Waxman case law is clear that “exclusion from the

market because of [another generic company’s]… entitlement to this statutory exclusionary

period does not present a justiciable Article III controversy.” Janssen Pharmaceutica, N.V. v.

Apotex, Inc., 540 F.3d 1353, 1362 (Fed. Cir. 2008).           Finally, Apotex admits that its own

acquiescence to the ‘599 patent blocks it from the market, thus the one rare scenario where a case

or controversy may exist (if the non-asserted patent was the only barrier to market) does not

apply.

         Regardless, additional reasons exist for this Court to exercise its discretion and decline to

hear Apotex’s complaint. Apotex’s complaint is hypothetical because its ANDA has not yet and

may never obtain approval from the FDA – and, even ignoring all of the other jurisdictional

deficiencies, this alone prevents the “trigger” of Mylan’s exclusivity period that Apotex seeks.

I.       Legal Standard for Motions to Dismiss

         A motion to dismiss under Fed. R. of Civ. P. 12(b)(1) challenges the court’s subject

matter jurisdiction. Apotex bears the burden of proof on subject matter jurisdiction. United

Phosphorus, Ltd. v. Angus Chem. Co., 322 F.3d 942, 946 (7th Cir. 2003). In ruling on a motion

to dismiss, the court must accept all well-pleaded facts in the complaint. Sapperstein v. Hager,

188 F.3d 852, 855 (7th Cir. 1999). However, the court may consider materials submitted by the

movant without converting the motion to one for summary judgment. See id.

II.      Apotex’s Complaint Should Be Dismissed for Lack of Subject Matter Jurisdiction

         A case or controversy exists under the Declaratory Judgment Act when “the facts alleged,

under all the circumstances, show that there is a substantial controversy, between parties having

                                                  -7-
      Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 8 of 17 PageID #:112




adverse legal interests, of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007) (citation

omitted). The dispute must be “definite and concrete, touching the legal relations of parties

having adverse legal interests;” also, it must be “real and substantial” and “admi[t] of specific

relief through a decree of a conclusive character, as distinguished from an opinion advising what

the law would be upon a hypothetical state of facts.” Id. (citation omitted).

          A court also has discretion to decline to hear a declaratory judgment action. A court can

decline to issue a declaratory judgment that would not “serve a useful purpose,” Int’l Harvester

Co. v. Deere & Co., 623 F.2d 1207, 1218 (7th Cir. 1980), or would not “terminate and afford

relief from the uncertainty, insecurity, and controversy giving rise to the proceeding.” Tempco

Elec. Heater Corp. v. Omega Eng’g, Inc., 819 F.2d 746, 749 (7th Cir. 1987) (internal quotations

and citations omitted).

          A.     There Is No Case or Controversy Between Apotex and Daiichi Sankyo
                 Because the ’703 Patent Has Been Disclaimed.

          Apotex’s complaint should be dismissed because there is no justiciable controversy

between Daiichi Sankyo and Apotex on the ‘703 patent. Apotex acknowledges in its amended

complaint that the ’703 patent has been statutorily disclaimed. Am. Compl. (D.I. 10), ¶ 18.2 As

such, the patent ceases to exist. Guinn v. Kopf, 96 F.3d 1419, 1422 (Fed. Cir. 1996) (the effect

of disclaimer as that of canceling the claims from the patent” as if they had “never existed.”);


2
    While Apotex also avers that the ’703 patent has “expired for failure to pay maintenance fees,”
    Am. Compl. (D.I. 10), ¶ 19, and the U.S. Patent Office Maintenance Fee Docket indicates an
    expiration for failure to pay a maintenance fee, the ’703 patent was disclaimed long before the
    date on which the maintenance fee was due. It thus ceased to exist and could not subsequently
    expire for failure to pay maintenance fees. Regardless, either a disclaimer of the ’703 patent or
    an expiration for failure to pay maintenance fees would divest Daiichi Sankyo of the right to
    assert the ’703 patent against anyone, and result in no justiciable controversy between Daiichi
    Sankyo and Apotex on the ’703 patent.

                                                  -8-
    Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 9 of 17 PageID #:113




W.L. Gore & Associates, Inc. v. Oak Materials Group, Inc., 424 F. Supp. 700, 702 (D. Del.

1976) (disclaimer is “the same as dedication of the patent to the public or abandonment.”).

Daiichi Sankyo cannot assert the ’703 patent against Apotex or anyone else. See, e.g., Vectra

Fitness, Inc. v. TNWK Corp., 162 F.3d 1379, 1383 (Fed. Cir. 1998) (noting that disclaimer

“effectively eliminate[s] … claims from the original patent”).      When a patent has been

disclaimed, there can be no subject matter jurisdiction.     See, e.g., 3V v. CIBA Specialty

Chemicals Corp., 587 F. Supp.2d 641, 645-46 (D. Del. 2008) (no case or controversy over

disclaimed patent, despite litigant’s wish to establish facts for future cases); W.L. Gore &

Associates, 424 F. Supp. at 702.

       B.      Even Under the Hatch-Waxman Act, There Is No Case or Controversy
               Between Apotex and Daiichi Sankyo.

       Apotex cannot—and does not—argue that, as a general matter, a disclaimed patent can be

infringed; rather, Apotex appears to be contending that this case is somehow unique because it

arises under the Hatch-Waxman Act. Nothing in the Hatch-Waxman Act changes the fact that

there is no case or controversy here.

       Apotex says that it seeks “a declaratory judgment of noninfringement” in order to

“trigger … Mylan’s exclusivity period” and “allow it to bring its ANDA product to market upon

the expiration of the ’599 patent.” Am. Compl. (D.I. 10), ¶ 40. Apotex also alleges that Apotex

is “injured by Daiichi [Sankyo]’s actions of requesting the FDA to list the ’703 patent in the

FDA Orange Book and continuing said listing in the FDA Orange Book.” Id., ¶ 39. These

allegations do not give rise to a case or controversy.

               1.      The Federal Circuit Has Affirmed Dismissals for Lack of Subject
                       Matter Jurisdiction Under Nearly Identical Facts.

       Previous attempts to manufacture a case or controversy in order to destroy another

company’s generic exclusivity, like this one, have been dismissed as lacking subject matter

                                                 -9-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 10 of 17 PageID #:114




jurisdiction and those dismissals affirmed by the Federal Circuit. Janssen Pharmaceutica, N.V.

v. Apotex, Inc., 540 F.3d 1353 (Fed. Cir. 2008); Merck & Co. v. Apotex, Inc., 2007 WL 4082616

(D.N.J. 2007), aff’d 292 Fed. Appx. 38 (Fed. Cir. 2008).

                      a.      Janssen: Exclusion from the Market By Another’s Statutory
                              Exclusionary Period Does Not Present a Justiciable Article III
                              Controversy.

       In Janssen, Teva Pharmaceuticals USA, Inc. (“Teva”) was the first to file a Paragraph IV

Certification on three Orange Book listed patents for Respirdal® and was thus (like Mylan here)

entitled to 180 days of generic exclusivity. 540 F.3d at 1358. Apotex later also made Paragraph

IV Certifications against the three patents. Id. Janssen sued Apotex for infringement of only one

of the three patents (the “’663 patent”). Id. Apotex stipulated to the infringement and validity of

the ’663 patent and agreed not to launch its product until the ’663 patent expired (just as here it

agrees it will not launch its product until the ’599 patent expires).           See id.    Apotex

counterclaimed for declarations of noninfringement of the two unasserted patents. Id. Janssen

granted Apotex covenants not to sue on those patents and moved to dismiss. See id. at 1358-59.

       Apotex argued (just as it argues here) that a case or controversy existed because the

Teva’s statutory exclusivity blocked Apotex from entering the market. See id. at 1359. The

court explained that the harm of which Apotex was complaining was due to the provisions of the

Hatch-Waxman Act, not Janssen’s actions. Specifically, the court said:

               [T]he harm to Apotex that has continuously existed is its exclusion
               from selling its alleged noninfringing product during Teva’s
               statutorily entitled 180-day exclusivity period. Apotex is being
               excluded from the market by Teva’s 180-day exclusivity period – a
               period which Teva is entitled to under the Hatch-Waxman Act.”

Id. at 1361 (emphasis added). The Federal Circuit concluded there was no case or controversy:

               Apotex’s exclusion from the market because of Teva’s
               entitlement to this statutory exclusionary period does not present
               a justiciable Article III controversy.
                                               -10-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 11 of 17 PageID #:115




Id. at 1362.

       Janssen is indistinguishable and controlling. First, just as in Janssen, Apotex has no risk

of being found to infringe the ’703 patent. In Janssen, the patentee covenanted not to sue on the

patents for which Apotex sought declaratory judgment. Here, Daiichi Sankyo disclaimed the

’703 patent and it no longer exists. See Am. Compl. (D.I. 10), ¶¶18, 19 and Exhs. D, E. Second,

in Janssen and here, Apotex opted not to challenge other, blocking patents and wait to launch its

generic product until after those blocking patents expired. Just as Apotex stipulated to the

validity of the ’663 patent in Janssen, here it has agreed to respect the validity of the ’599 patent;

it has filed a Paragraph III Certification against that patent and, therefore, has agreed to stay off

the market until the “expiration of the ’599 patent and any applicable pediatric exclusivity.” Id.,

¶ 30. Under Janssen, Apotex is not entitled to a declaratory judgment merely to trigger Mylan’s

potential exclusivity—“exclusion from the market [because of another’s] entitlement to this

statutory exclusionary period does not present a justiciable Article III controversy.” Id. at 1362.

                       b.      Merck: No Subject Matter Jurisdiction When Patent Had Been
                               Disclaimed

       As in Janssen, the Federal Circuit affirmed the district court’s conclusion that a case or

controversy does not exist under nearly identical facts to this case in Merck & Co., Inc. v.

Apotex, Inc., 2007 WL 4082616 (D.N.J. 2007), aff’d 292 Fed. Appx. 38 (Fed. Cir. 2008). There,

Hi-Tech Pharmacal, Co., Inc. (“Hi-Tech”) was the first to file a Paragraph IV Certification

against the three Orange Book listed patents for Cosopt®. Id. at *3. Merck asserted one of the

patents (the “’413 patent”) against Hi-Tech and statutorily disclaimed the other two. Id. at *2.

       Merck prevailed at trial against Hi-Tech, but while the district court’s decision was on

appeal, Apotex also made a Paragraph IV Certification against all three listed patents. Id. Merck

asserted the ’413 patent against Apotex, and Apotex counterclaimed for a declaration of non-
                                                -11-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 12 of 17 PageID #:116




infringement of the disclaimed patents. Id. at *3. Apotex agreed to be bound by the decision in

Merck’s case against Hi-Tech. Id. The Federal Circuit affirmed Merck’s district court victory

against Hi-Tech, and the district court entered judgment against Apotex on the ’413 patent. Id.

       Merck moved to dismiss Apotex’s counterclaims concerning the two disclaimed patents

for lack of subject matter jurisdiction. Id. The district court held that no case or controversy

existed, stating that “because Merck has formally disclaimed the … patents, and can no longer

enforce any claims as to these patents, there is no justiciable case or controversy to support

jurisdiction in an action for a declaratory judgment here.” Id. at 5 (internal citation omitted).

The Federal Circuit affirmed the district court’s ruling. 292 Fed. Appx. 38.

       Merck is just as indistinguishable as Janssen. Apotex is the second Paragraph IV filer

here, just as it was in Merck. Also, just as Merck disclaimed the two patents for which Apotex

sought a declaratory judgment in Merck, here Daiichi Sankyo has disclaimed the ’703 patent.

There is no case or controversy here under this controlling law.

               2.     The Facts Here Match Janssen and Merck, Not the One Rare Scenario
                      Where a Case or Controversy May Exist.

       There is a rare exception to the above settled law; a case or controversy may exist in the

Hatch-Waxman context if “[a] favorable judgment in [the declaratory judgment action] would

clear the path to FDA approval that [the NDA holder’s] actions would otherwise deny” the

ANDA filer. Caraco Pharm. Labs., Ltd. v. Forest Labs., Inc., 527 F.3d 1278, 1293 (Fed. Cir.

2008); see also Dey Pharma LP v. Sunovion Pharms. Inc., 677 F.3d 1158, 1163-64 (Fed. Cir.

2012) (analogizing to Caraco). That is not the case here; another patent blocks Apotex from

approval.

       In Caraco, second ANDA filer Caraco made a Paragraph IV Certification against the two

Orange Book listed patents for Lexapro®. Id. at 1288. Forest sued Caraco for infringement of


                                               -12-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 13 of 17 PageID #:117




one patent but not the other. Id. Caraco then filed a declaratory judgment complaint for non-

infringement of the unasserted patent. Id. Forest moved to dismiss, but the district court

concluded that a case or controversy existed. Id. at 1288-90. The Federal Circuit affirmed

because both Orange Book listed patents were being challenged: “[i]f Caraco obtains a favorable

judgment that the drug described in its ANDA does not infringe [the asserted patent], then it will

only need a judgment of invalidity or noninfringement on [the unasserted patent] in order to

activate [the ] exclusivity period and obtain FDA approval.” Id.; see also Dey, 677 F.3d at 1164

(“eliminating one barrier is sufficient for declaratory jurisdiction” only if “litigation is also

pending that could eliminate the other barriers.”).

       Unlike in Janssen or here, Caraco challenged both Orange Book patents—the asserted

patent (in Forest’s suit) and the unasserted patent (in its declaratory judgment suit). See also

Dey, 677 F.3d at 1163-64 (noting that Dey had challenged all Orange Book listed patents). Here,

Apotex has not challenged the ’599 patent and has affirmatively acquiesced to this barrier to

approval of its ANDA. Similarly, in Janssen, the Federal Circuit explicitly distinguished Caraco

because Apotex had stipulated to the validity of the ’663 patent and could not obtain FDA

approval until it expired. Janssen, 540 F.3d at 1361; see also Dey, 677 F.3d at 1163 (analogizing

to Caraco because Dey had not stipulated to validity of any patent). Thus, the facts here are the

same as in Janssen, whereas the facts of Caraco (and Dey) are distinguishable.

       C.      The Orange Book Listing Does Not Establish a Case or Controversy Between
               Apotex and Daiichi Sankyo.

       Apotex also alleges that a controversy exists here merely because the ’703 patent is listed

in the Orange Book. Am. Compl. (D.I. 10), ¶ 39. If the mere listing of a patent in the Orange

Book results in justiciable controversy between an NDA holder and a Paragraph IV filer, a




                                                -13-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 14 of 17 PageID #:118




justiciable controversy would have existed in Janssen, 540 F.3d at 1357 (noting Orange Book

listing of all four patents), but it did not.

        Regardless, the Orange Book listing for the Benicar® product does not create a case or

controversy. Daiichi Sankyo was required to identify to the FDA every patent potentially

covering a generic copy of the Benicar® product. See 21 U.S.C. § 355(b)(1). And, after

disclaimer, the ’703 patent remained listed in the Orange Book by operation of law, not Daiichi

Sankyo’s actions. Daiichi Sankyo asked the FDA to remove the ’703 patent from the Orange

Book in 2006. See Ginnings Decl., Exh. 1. The Orange Book notes this delisting request. See

id., Exh. 2. The FDA, however, did not delist the patent because Mylan had already filed a

Paragraph IV Certification against it, and the FDA cannot delist patents once a Paragraph IV

Certification is filed. See, e.g., Teva Pharms USA, Inc. v. Sebelius, 595 F.3d 1303, 1315-18

(D.C. Cir. 2010); see also Apotex, Inc. v. Sebelius, 700 F. Supp. 2d 138, 139-41 (D.D.C. 2010)

(concluding that expiration of a listed patent does not cause forfeiture of generic exclusivity).

        Apotex's inability to promptly launch its generic drug product because of Mylan’s 180-

day exclusivity period under the Hatch-Waxman Act is not a cognizable Article III controversy,

but rather is a result envisioned by the Act. Janssen, 540 F.3d at 1361.

        D.      The Court Should Decline to Exercise its Declaratory Judgment Jurisdiction
                Because This Action is Premature.

        Additionally, this Court should decline to exercise its jurisdiction because Apotex’s

complaint is premature and hypothetical in that its ANDA has not obtained tentative approval.

Thus, the declaration Apotex seeks would not serve any useful purpose or afford any real relief.

        Apotex’s complaint states that its injury is “being prohibited from selling its product” by

Mylan’s “180-day first generic applicant exclusivity” and that “Apotex’s injury can be redressed

by the requested relief: a declaratory judgment of noninfringement would trigger first applicant


                                                -14-
     Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 15 of 17 PageID #:119




Mylan’s exclusivity period . . . .” Am. Compl. (D.I. 10), ¶ ¶ 33, 40. However, Apotex does not

appear to have—and may never obtain—“tentative approval” from the FDA, which is required to

trigger the first Paragraph IV filer’s exclusivity. The statute explains that exclusivity is only

triggered when declaratory judgment action brought by “the first applicant or any other applicant

(which other applicant has received tentative approval).” 21 U.S.C. § 355(j)(5)(D)(i)(I)(bb).

Apotex is an “other applicant” because Mylan is the “first applicant.” See Am. Compl. (D.I. 10),

¶ 31. Thus, unless and until Apotex obtains tentative approval, judgment here cannot trigger

Mylan’s exclusivity.3 Apotex’s assertion that “a declaratory judgment of noninfringement would

trigger … Mylan’s exclusivity period” is legally wrong and its complaint hypothetical.




3
    Apotex’s lack of tentative approval also prevents it from suing the FDA to compel any action
    with respect to Mylan’s ANDA. See Mylan Pharms. Inc. v. U.S. Food and Drug Admin., 789
    F. Supp. 2d 1, 9 (D.D.C. 2011).

                                                -15-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 16 of 17 PageID #:120




                                      CONCLUSION

       For the reasons stated above, this Court should dismiss Apotex’s amended complaint.


                                                Respectfully submitted,

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                                            -16-
   Case: 1:12-cv-09295 Document #: 25 Filed: 04/09/13 Page 17 of 17 PageID #:121




                                CERTIFICATE OF SERVICE

       The undersigned attorney, upon oath, hereby certifies that he served a copy of the

foregoing Memorandum in Support of Defendants’ Motion to Dismiss Plaintiff’s Amended

Complaint upon the parties by causing a true and correct copy thereof to be electronically filed

and delivered using the Court’s ECF system on the 9th day of April, 2013.



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